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                          UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF WISCONSIN


Dahl Automotive Onalaska Inc.
dba Dahl Lincoln
561 Theater Road
Onalaska, WI 54650

Garbo Motor Sales, Inc.                          Case No. 20-cv-932-jdp
dba Garbo Lincoln
3077 Douglas Avenue
Racine, WI 53402

Griffin Ford Lincoln Fort Atkinson, Inc.
1642 Janesville Avenue
Fort Atkinson, WI 53538

Jim Olson Ford Lincoln, LLC
440 South Duluth Avenue
Sturgeon Bay, WI 54235

Kayser Ford, Inc., dba Kayser Lincoln
2303 West Beltline Highway
Madison, WI 53713

Kunes Country Ford-Lincoln, Inc.
1234 East Geneva Street
Delavan, WI 53115

Lidtke Motors, Inc.
701 Park Avenue
Beaver Dam, WI 53916

The Motor Company, Inc.
dba Lincoln of Marinette
W1680 US Highway 41
Marinette, WI 54143

Uptown Motors, Inc.
2111 N. Mayfair Road
Milwaukee, WI 53226

V & H Automotive, Inc.
2414 North Central Avenue
Marshfield, WI 54449
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Y & D Corp.
dba Dorsch Lincoln
2641 Eaton Road
Green Bay, WI 54311,

                             Plaintiffs,

v.
Ford Motor Company
dba Lincoln Motor Company
One American Road
Dearborn, Michigan 48126,

                             Defendant.


                    STIPULATION FOR DISMISSAL
 OF PLAINTIFFS DAHL AUTOMOTIVE ONALASKA INC., DBA DAHL LINCOLN,
 GARBO MOTOR SALES, INC., DBA GARBO LINCOLN, GRIFFIN FORD LINCOLN
  FORT ATKINSON, INC., KAYSER FORD, INC., DBA KAYSER LINCOLN, THE
 MOTOR COMPANY, INC., DBA LINCOLN OF MARINETTE, UPTOWN MOTORS,
                  INC., AND V&H AUTOMOTIVE, INC.



       WHEREFORE plaintiffs Dahl Automotive Onalaska Inc., dba Dahl Lincoln, Garbo Motor

Sales, Inc., dba Garbo Lincoln, Griffin Ford Lincoln Fort Atkinson, Inc., The Motor Company,

Inc., dba Lincoln of Marinette, and V&H Automotive, Inc. desire to voluntarily dismiss their

claims against Defendant Ford Motor Company, dba Lincoln Motor Company (“Ford”) with

prejudice and without costs; and

       WHEREFORE Ford does not object to the voluntary dismissal with prejudice of only the

plaintiffs Dahl Automotive Onalaska Inc., dba Dahl Lincoln, Garbo Motor Sales, Inc., dba Garbo

Lincoln, Griffin Ford Lincoln Fort Atkinson, Inc., The Motor Company, Inc., dba Lincoln of

Marinette, and V&H Automotive, Inc.; and




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       WHEREFORE plaintiffs Kayser Ford, Inc., dba Kayser Lincoln, and Uptown Motors, Inc.

desire to voluntarily dismiss their claims against Ford without prejudice and without costs; and

       WHEREFORE Ford does not object to the voluntary dismissal without prejudice of Kayser

Ford, Inc., dba Kayser Lincoln, and Uptown Motors, Inc.

       THEREFORE, IT IS HEREBY STIPULATED AND AGREED, by and between the

parties, through their respective counsel, that pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules

of Civil Procedure:

       1.      All claims brought by plaintiffs Dahl Automotive Onalaska Inc., dba Dahl Lincoln,

Garbo Motor Sales, Inc., dba Garbo Lincoln, Griffin Ford Lincoln Fort Atkinson, Inc., The Motor

Company, Inc., dba Lincoln of Marinette, and V&H Automotive, Inc may be dismissed against

Ford with prejudice and without costs to any party; and

       2.      All claims brought by plaintiffs Kayser Ford, Inc., dba Kayser Lincoln, and Uptown

Motors, Inc. may be dismissed against Ford without prejudice and without costs to any party; and

       3.      The only remaining plaintiffs in this case are Jim Olson Ford Lincoln, LLC, Kunes

Country Ford-Lincoln, Inc., Lidtke Motors, Inc., and Y&D Corp., dba Dorsch Lincoln, and the

caption should be amended as such without further notice.

Respectfully submitted this 10th day of February, 2022.

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